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AO 245D (Rev. 8/96) Sheet 1 - Judgment in a Criminal Case for Revocation

                                 United States District Court
                                                District of New Mexico

          UNITED STATES OF AMERICA                           Judgment in a Criminal Case
                      V.
                Michael Estrada
                                                             (For Revocation of Probation or Supervised Release)
                                                             (For Offenses Committed On or After November 1, 1987)
                                                             Case Number: 2:01CR00071-001MV
                                                             Defense Attorney: Dennis Candelaria (Appointed)
THE DEFENDANT:
c    admitted guilt to violations of condition(s) MC and Special of the term of supervision.
d    was found in violation of condition(s) after denial of guilt.

   Violation Nature of Violation                                                              Date Violation
   Number                                                                                       Occurred
       MC          The defendant failed to refrain from any unlawful use of a                    09/24/2003
                   controlled substance.

    Special        The defendant failed to participate in a program for substance                10/02/2003
                   abuse, which may include testing as directed by the probation
                   officer.

The defendant is sentenced as provided in page 1 through 3 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

d    The defendant has not violated condition(s) and is discharged as to such violation(s) condition.

IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs,
and special assessments imposed by this judgment are fully paid.


Defendant's Soc. Sec. No.:     XXX-XX-XXXX                    January 16, 2004
Defendant's Date of Birth:     06/28/1971
Defendant's USM No.:           19970-051
                                                              Date of Imposition of Judgment
Defendant's Residence Address:
1007 Olive Street                                             /s/ Martha Vázquez
Deming, NM 88030
                                                              Signature of Judicial Officer

Defendant's Mailing Address (if different from residence):    Honorable Martha Vazquez
                                                              Chief United States District Judge
                                                              Name and Title of Judicial Officer

                                                              January 23, 2004
                                                              Date
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AO 245B (Rev. 8/96) Sheet 2 - Imprisonment                                         Judgment - Page 2 of 3

Defendant:   Michael Estrada
Case Number: 2:01CR00071-001MV


                                             IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of 205 days.


d    The court makes the following recommendations to the Bureau of Prisons:


c    The defendant is remanded to the custody of the United States Marshal.
d    The defendant shall surrender to the United States Marshal for this district:
     d    at a.m./p.m. on
     d    as notified by the United States Marshal.
d    The defendant shall surrender for service of sentence at the institution designated by the Bureau
     of Prisons:
     d    before 2 p.m. on
     d    as notified by the United States Marshal.
     d    as notified by the Probation or Pretrial Services Office.

                                               RETURN

I have executed this judgement as follows:




Defendant delivered on                                                 to
              at                                              , with a Certified copy of this judgment.



                                                   UNITED STATES MARSHAL



                                                   Deputy U.S. Marshal
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AO 245B (Rev. 8/96) Sheet 3 - Supervised Release                                                         Judgment - Page 3 of 3

Defendant:   Michael Estrada
Case Number: 2:01CR00071-001MV

                                            SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of .

Defendant will be continued on Supervised Release; all previously imposed conditions to remain in effect with the
modification that he participate in and complete the program at Yucca Lodge beginning February 3, 2004 at 10:00
AM; Court orders Defendant be transported to Yucca Lodge by the United States Marshal.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state, or local crime.
The defendant shall not illegally possess a controlled substance.
For offenses committed on or after September 13, 1994:
The defendant shall refrain from any unlawful use of a controlled substance. The defendant shall submit to one drug test
within 15 days of release from imprisonment and at least two periodic drug tests thereafter, as directed by the probation
officer.
d      The above drug testing condition is suspended based on the courts determination that the defendant possesses a low
       risk of future substance abuse. (Check, if applicable.)
c      The defendant shall not possess a firearm or destructive device. (Check, if applicable).
If this judgment imposes a fine or a restitution obligation, it shall be a condition of probation that the defendant pay any
such fine or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the
Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.
The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant
shall also comply with the additional conditions on the attached page (if indicated below).

                          STANDARD CONDITIONS OF SUPERVISION
1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the
       first five days of each month;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation
       officer;
4)     the defendant shall support his or her dependents and meet other family responsibilities;
5)     the defendant shall obtain and maintain full time, legitimate employment, or attend a vocational or academic training
       program throughout the term of supervised release as directed by the probation officer;
6)     the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
       convicted of a felony unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
       confiscation of any contraband observed in plain view of the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
       enforcement officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
       without the permission of the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
       defendant's criminal record or personal history and shall permit the probation officer to make such notifications and
       to confirm the defendant's compliance with such notification requirement;
14)    the defendant shall not possess dangerous weapons.
